        Case 1:14-ml-02570-RLY-TAB Document 19813 Filed 09/01/21 Page 1 of 1 PageID #:
                                         123189
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Southern District
                                                  __________  District of
                                                                       of Indiana
                                                                          __________


                        Yolanda Smith                             )
                             Plaintiff                            )
                                v.                                )      Case No.   1:21-cv-6571-RLY-TAB
                  Cook Incorporated, et al.                       )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Yolanda Smith                                                                                                      .


Date:          09/01/2021                                                                /s/John T. Kirtley, III
                                                                                           Attorney’s signature


                                                                                           John T. Kirtley, III
                                                                                       Printed name and bar number
                                                                                     TX State Bar No. 11534050
                                                                                      Ferrer Poirot Wansbrough
                                                                                    2603 Oak Lawn Ave., Ste. 300
                                                                                          Dallas, TX 75219
                                                                                                 Address

                                                                                       jkirtley@lawyerworks.com
                                                                                             E-mail address

                                                                                            (214) 521-4412
                                                                                            Telephone number

                                                                                            (866) 513-0115
                                                                                              FAX number


            Print                        Save As...                                                                  Reset
